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                             UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,
                                                   Case No. CR-17-188-E-DCN
                Plaintiff,

        vs.
                                                   GOVERNMENT’S FIRST MOTION TO
 DILLON McCANDLESS                                 CONTINUE TRIAL

                Defendant.


         The United States of America, by and through Bart M. Davis, United States Attorney,

and the undersigned Special Assistant United States Attorney, for the District of Idaho,

respectfully moves the Court pursuant to 18 U.S.C. § 3161(h)(3)(A) and (7)(A) to continue the

pre-trial conference scheduled for May 28, 2018, and the jury trial scheduled for June 4, 2018, on

the grounds that an essential government witness is not available on the scheduled trial date.

       This case was continued in an order issued on April 9, 2018, Document No. 32, setting

the pre-trial conference for May 24, 2018, and the jury trial for June 4, 2018. Shortly after the

new jury trial date was set, a key government witness and the lead investigator on the case

notified the undersigned AUSA that he had a family vacation planned and paid for from May 28,

2018, through June 7, 2018, and that he was unavailable for trial on June 4, 2018.

       Defense counsel and the undersigned AUSA discussed the matter over the next few

weeks to determine whether there was a need for a motion to continue or whether the parties

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could reach a resolution in the case which would have negated the need for a

continuance. Counsel just recently determined that although the case might be resolved in the

future, there is still a chance that the case may go to trial and that the government is unable to do

so because its witness is unavailable.

       The undersigned AUSA should have made this request sooner, rather than on the eve of

the scheduled pre-trial conference. However, another AUSA in the office, Mike Fica, passed

away on April 8, 2018, the day before the order continuing the trial in this case was issued, and

the undersigned AUSA and others in the U.S. Attorney’s Office have been dealing with Mr.

Fica’s cases and pending matters over the last few weeks. The undersigned AUSA apologizes

for not raising this issue right after the continuance was granted on April 9 but there was some

hope the case would be resolved and the press of business following Mr. Fica’s death has been

overwhelming for all in the U.S. Attorney’s Office in Pocatello.

       The government respectfully requests that the pre-trial conference and jury trial be

continued so that this key government witness is available for trial.

       The defense counsel has stated that he does not object to the requested continuance.

       The government believes that any delay is justified by the ends of justice and is

excludable time.

         DATED this 23rd day of May, 2018.


                                                   BART M. DAVIS
                                                   UNITED STATES ATTORNEY
                                                   By:


                                                  /s/ _____________________________________
                                                   JACK B. HAYCOCK
                                                   Assistant United States Attorney




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                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May 23, 2018, the foregoing GOVERNMENT’S FIRST

MOTION TO CONTINUE TRIAL was electronically filed with the Clerk of the Court using the

CM/ECF system which sent a Notice of Electronic Filing to the following person(s):




 Steven V Richert
 Steve_Richert@fd.org



                                               /s/ _____________________________________
                                                Janet Widdison
                                                Legal Assistant




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